Fill in this information to identify your case:

Debtor 1                  Ashley Isehi Prim
                          First Name                           Middle Name                         Last Name

Debtor 2
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ALABAMA

Case number           24-00287
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              19,402.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              19,402.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              15,500.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              34,975.00


                                                                                                                                 Your total liabilities $                   50,475.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               2,235.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               1,735.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2

         Case 24-00287-DSC13                              Doc 37 Filed 09/06/24 Entered 09/06/24 12:05:02                                                           Desc Main
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Debtor 1   Ashley Isehi Prim                                                           Case number (if known) 24-00287

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                     243.66


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              9,049.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 9,049.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2

      Case 24-00287-DSC13                      Doc 37 Filed 09/06/24 Entered 09/06/24 12:05:02                                    Desc Main
                                                     Document    Page 2 of 14
Fill in this information to identify your case and this filing:

Debtor 1                    Ashley Isehi Prim
                            First Name                  Middle Name                      Last Name

Debtor 2
(Spouse, if filing)         First Name                  Middle Name                      Last Name

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ALABAMA

Case number           24-00287                                                                                                                          Check if this is an
                                                                                                                                                        amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


                      NISSAN                                                                                              Do not deduct secured claims or exemptions. Put
  3.1     Make:                                            Who has an interest in the property? Check one
                                                                                                                          the amount of any secured claims on Schedule D:
          Model:      ROGUE                                    Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:       2012                                     Debtor 2 only                                              Current value of the      Current value of the
          Approximate mileage:            160,000              Debtor 1 and Debtor 2 only                                 entire property?          portion you own?
          Other information:                                   At least one of the debtors and another


                                                               Check if this is community property                                  $6,025.00                  $6,025.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                $6,025.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.


Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 1



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Debtor 1     Ashley Isehi Prim                                                                      Case number (if known)    24-00287
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                              FURNITURE, APPLIANCES AND HOUSEHOLD GOODS                                                                        $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                              ELECTRONICS INCLUDING AUDIO, VIDEO AND COMPUTER
                              EQUIPMENT                                                                                                        $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                              CLOTHING                                                                                                            $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                              JEWELRY                                                                                                             $550.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                       $5,550.00


Official Form 106A/B                                         Schedule A/B: Property                                                                  page 2



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Debtor 1        Ashley Isehi Prim                                                                                              Case number (if known)   24-00287


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                           17.1.                                             Chime bank                                                                 $126.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
      No
      Yes. Give specific information about them...................
                                Name of entity:                                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                               Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...


Official Form 106A/B                                                                  Schedule A/B: Property                                                               page 3



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Debtor 1      Ashley Isehi Prim                                                                     Case number (if known)     24-00287
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                Estimated 2023 federal income tax refund                                                         $5,000.00


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
      Yes. Give specific information..

                                             3rd party (Zachary Michael) owes me for damages to my car
                                             from a hit and run accident.                                                                        $2,700.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                               Beneficiary:                             Surrender or refund
                                                                                                                                    value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........




Official Form 106A/B                                         Schedule A/B: Property                                                                     page 4



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Debtor 1         Ashley Isehi Prim                                                                                                 Case number (if known)      24-00287


                                                          Pending cause of action in the Circuit Court of Jefferson
                                                          County, AL Bessemer Division, Case #
                                                          68-CV-2023-900398.00, against Immunotek Biocenters, LLC
                                                          d/b/a Freedom Plasma for Negligence, Wantonness,
                                                          Recklessness/Outrage, and Defamation. Value of this claim
                                                          is not known at this time.                                                                                             $1.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $7,827.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

Part 8:        List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
56. Part 2: Total vehicles, line 5                                                                          $6,025.00
57. Part 3: Total personal and household items, line 15                                                     $5,550.00
58. Part 4: Total financial assets, line 36                                                                 $7,827.00
59. Part 5: Total business-related property, line 45                                                            $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                          +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                   $19,402.00              Copy personal property total              $19,402.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $19,402.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                            page 5



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 In re                                                                         Case No.
                                                        Debtor(s)



                                       SCHEDULE A/B - PROPERTY
                                                  Attachment A

The values listed with regard to all items represent the debtor’s best estimate as to the amount the items could be
sold for, used and “as is”, to a willing buyer. None of the values are intended to represent the replacement value,
actual cash value or any other value of the listed items as defined by the debtor’s homeowner’s insurance policy or
any other insurance policy.




         Case 24-00287-DSC13      Doc 37 Filed 09/06/24 Entered 09/06/24 12:05:02                Desc Main
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Fill in this information to identify your case:

Debtor 1                Ashley Isehi Prim
                        First Name                     Middle Name                 Last Name

Debtor 2
(Spouse if, filing)     First Name                     Middle Name                 Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ALABAMA

Case number           24-00287
(if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     FURNITURE, APPLIANCES AND                                   $3,000.00                                  $1,000.00     Ala. Code §§ 6-10-6, 6-10-12
     HOUSEHOLD GOODS
     Line from Schedule A/B: 6.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     ELECTRONICS INCLUDING AUDIO,                                $1,500.00                                    $500.00     Ala. Code §§ 6-10-6, 6-10-12
     VIDEO AND COMPUTER EQUIPMENT
     Line from Schedule A/B: 7.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     CLOTHING                                                        $500.00                                  $500.00     Ala. Code §§ 6-10-6,
     Line from Schedule A/B: 11.1                                                                                         6-10-126(a)(2)
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Chime bank                                                      $126.00                                  $126.00     Ala. Code §§ 6-10-6, 6-10-12
     Line from Schedule A/B: 17.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Estimated 2023 federal income tax                           $5,000.00                                  $4,049.00     Ala. Code §§ 6-10-6, 6-10-12
     refund
     Line from Schedule A/B: 28.1                                                     100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 2



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Debtor 1    Ashley Isehi Prim                                                                      Case number (if known)     24-00287
    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Pending cause of action in the                                    $1.00                                $2,550.00        Ala. Code §§ 6-10-6, 6-10-12
    Circuit Court of Jefferson County, AL
    Bessemer Division, Case #                                                        100% of fair market value, up to
    68-CV-2023-900398.00, against                                                    any applicable statutory limit
    Immunotek Biocenters, LLC d/b/a
    Freedom Plasma for Negligence,
    Wantonness, Recklessness/Outrage,
    and Defamation. Value of this clai
    Line from Schedule A/B: 33.1


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2



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Fill in this information to identify your case:

Debtor 1                 Ashley Isehi Prim
                         First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ALABAMA

Case number           24-00287
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Ashley Isehi Prim                                             X
             Ashley Isehi Prim                                                 Signature of Debtor 2
             Signature of Debtor 1

             Date     September 6, 2024                                        Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




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                                 CERTIFICATE OF SERVICE



        I hereby certify that I have served a copy of Amended Schedules A/B and C upon
 Bradford W. Caraway, Chapter 13 Trustee via CM/ECF to ctmail@ch13bham.com.

          I further certify that I have served a copy of Amended Schedule C upon the below all
 creditors listed on the creditor matrix via United States Mail properly addressed and pre-paid
 first class postage on September 6, 2024.

 Andrew J. Sinor, Jr., Esquire
 Jerome C. Chapman, IV, Esquire
 Hand Arendall
 Harrison Sale LLC
 1801 5th Avenue North, Suite 400
 Birmingham, AL 35203

 Gabriel J. Quistorff, Esquire
 Jeremy L. Retherford, Esquire
 Balch & Bingham LLP
 1901 6th Avenue North, Suite 1500
 Birmingham, AL 35203

 John Parker Yates, Esquire
 Robert S. Walker, Esquire
 Kristopher O. Anderson, Esquire
 Yates Anderson
 2320 Highland Avenue South, Suite 290B
 Birmingham, AL 35205



                                               /s/ Robert D. Reese
                                               Robert D. Reese, Attorney for Debtor(s)
                                               Bond, Botes, Reese, Shinn & Weinacker, P.C.
                                               15 Southlake Lane, Suite 140
                                               Birmingham, AL 35244-3328
                                               (205) 802-2200




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Label Matrix for local noticing              District Capital LLC                    U. S. Bankruptcy Court
1126-2                                       Winston, Winston, etc.                  Robert S. Vance Federal Building
Case 24-00287-DSC13                          1744 Oxmoor Road                        1800 5th Avenue North
NORTHERN DISTRICT OF ALABAMA                 Homewood, AL 35209-4037                 Birmingham, AL 35203-2111
Birmingham
Fri Sep 6 11:46:36 CDT 2024
ACCEPTANCE LOAN COMPANY INC                  ADVANCE AMERICA                         AT&T
5256 HIGHWAY 90 SUITE D                      % NATIONAL CREDIT ADJUSTERS             % ENHANCED RECOVERY CORP
MOBILE AL 36619-4218                         PO BOX 3023                             PO BOX 57547
                                             HUTCHINSON KS 67504-3023                JACKSONVILLE FL 32241-7547


AT&T SERVICES                                ATLAS                                   Americas Car-Mart INC
ONE AT&T WAY ROOM 3A104                      300 COVENTRY ROAD                       1805 N 2nd ST
BEDMINSTER NJ 07921-2694                     KENSINGTON CA 94707-1214                STE 401
                                                                                     Rogers, AR 72756-2423


BABERS                                       BRIARWOOD ESTATES                       BRIARWOOD ESTATES
300 E CHURCH STREET                          % NATIONAL CREDIT SYSTEMS               19038 FAIRGROUND ROAD
ATMORE AL 36502-2504                         PO BOX 312125                           ROBERTSDALE AL 36567-6640
                                             ATLANTA GA 31131-2125


COLONIAL AUTO FINANCE/AMERICA’S CAR-MAR      COWETA FAYETTE ELECTRIC                 COWETA FAYETTE ELECTRIC
ATTN: BANKRUPTCY                             % COLLECTION BUREAY OF NEWNAN           807 COLLINSWORTH ROAD
1805 N 2ND STREET SUITE 401                  1 SAVANNAH ST #A                        PALMETTO GA 30268-9442
ROGERS AR 72756-2423                         NEWNAN GA 30263-2568


CREDIT CENTRAL INC                           DC’S AUTO SALES INC                     EASY MONEY
21040 MIFLIN ROAD                            PO BOX 1345                             % NATIONAL CREDIT ADJUSTERS
FOLEY AL 36535-9297                          DAPHNE AL 36526-1345                    PO BOX 3023
                                                                                     HUTCHINSON KS 67504-3023


FIRST PREMIER BANK                           Henderson and Walton Womens Center PC   (p)JEFFERSON CAPITAL SYSTEMS LLC
ATTN: BANKRUPTCY                             c/o Franklin Service Inc                PO BOX 7999
PO BOX 5524                                  Po Box 3910                             SAINT CLOUD MN 56302-7999
SIOUX FALLS SD 57117-5524                    Tupelo, MS 38803-3910


KIKOFF LENDING LLC                           NAVIENT                                 National Credit Adjusters, LLC
ATTN: BANKRUPTCY                             ATTN: BANKRUPTCY                        Attn: Bankruptcy Department
75 BROADWAY SUITE 226                        PO BOX 9500                             P.O. Box 3023
SAN FRANCISCO CA 94111-1458                  WILKES BARRE PA 18773-9500              Hutchinson, KS 67504-3023


OKINUS                                       OKINUS                                  PRIMO
% RFGI                                       147 WEST RAILROAD ST. SOUTH             % CBA
ATTN: BANKRUPTCY                             PELHAM GA 31779-1631                    ATTN: BANKRUPTCY
PO BOX 537                                                                           PO BOX 5013
SYCAMORE IL 60178-0537                                                               HAYWARD CA 94540-5013

SANTANDER CONSUMER USA INC                   SWEETWATER PROPERTIES LLC               SWEETWATER PROPERTIES LLC
PO BOX 560284                                % BRANTLEY T. RICHERSON                 PO BOX 241
DALLAS TX 75356-0284                         PO BOX 1138                             FAIRHOPE AL 36533-0241
                                             FAIRHOPE AL 36533-1138

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VERIZON WIRELESS                                     Verizon                                              W.S. BADCOCK CORPORATION
ATTN: BANKRUPTCY                                     by American InfoSource as agent                      ATTN: BANKRUPTCY
500 TECHNOLOGY DR, STE 599                           PO Box 4457                                          200 NW PHOSPHATE BLVD
WELDON SPRINGS MO 63304-2225                         Houston, TX 77210-4457                               MULBERRY FL 33860-2328


WESTLAKE PORTFOLIO MGMT, LLC                         WORLD FINANCE CORP                                   Ashley Isehi Prim
ATTN: BANKRUPTCY                                     ATTN: BANKRUPTCY                                     6600 Avenue K
PO BOX 76809                                         PO BOX 6429                                          Bessemer, AL 35020-2543
LOS ANGELES CA 90076-0809                            GREENVILLE SC 29606-6429


(p)CHAPTER 13 STANDING TRUSTEE                       Grafton Moore Weinacker                              Robert D. Reese
ATTN BRADFORD W CARAWAY                              Bond, Botes, Reese, Shinn & Weinacker, P             Bond, Botes, Reese, Shinn & Weinacker, P
PO BOX 10848                                         15 Southlake Lane                                    15 Southlake Lane
BIRMINGHAM AL 35202-0848                             Suite 140                                            Suite 140
                                                     Birmingham, AL 35244-3328                            Birmingham, AL 35244-3328



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Jefferson Capital Systems LLC                        Bradford W. Caraway
Po Box 7999                                          Chapter 13 Standing Trustee
Saint Cloud MN 56302-9617                            P O Box 10848
                                                     Birmingham, AL 35202-0848




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BioTek America, LLC                               (u)ImmunoTek Bio Centers, LLC d/b/a Freedom P        End of Label Matrix
                                                                                                          Mailable recipients    38
                                                                                                          Bypassed recipients     2
                                                                                                          Total                  40




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